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  8                        UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
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 11   Christopher Bentley, Nicholas Longo,           CASE NO. 19-cv-2437 DMS RBB
      Hendry Idar III, Vincent Hardy, Jesus
 12   Sanchez, and Taryn Mitchell, on behalf of      ORDER
      themselves and of others similarly situated,
 13                                                  ON JOINT MOTION FOR
                                Plaintiffs,          ADDITIONAL EXTENSION OF
 14                                                  TIME FOR THE PARTIES TO
                           v.
 15                                                  SUBMIT BRIEFING ON
                                                     DEFENDANTS’ MOTION TO
 16                                                  COMPEL ARBITRATION
      The Control Group Media Company, Inc.,
 17   Instant Checkmate, LLC, TruthFinders,
      LLC
 18
                                Defendant.
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 20

 21         Before the Court is the Joint Motion for Additional Extension of Time for the
 22   Parties to Submit Briefing on Defendants’ Motion to Compel Arbitration. The
 23   Court has considered the joint motion, and good cause appearing, it is HEREBY
 24   ORDERED that the motion is GRANTED. Plaintiffs’ deadline to file their
 25   Response to Defendants’ Motion to Compel Arbitration shall be extended from
 26   April 24, 2020 to May 8, 2020, and Defendants’ deadline to file their Reply shall
 27   be extended from May 8, 2020 to May 22, 2020.
 28                                        1
         ORDER ON JOINT MOTION FOR ADDITIONAL EXTENSION OF TIME RE BRIEFING ON
                            MOTION TO COMPEL ARBITRATION
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            IT IS SO ORDERED.
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  3   Dated: April 23, 2020
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         ORDER ON JOINT MOTION FOR ADDITIONAL EXTENSION OF TIME RE BRIEFING ON
                            MOTION TO COMPEL ARBITRATION
